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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

 

 

AUSTIN DIVISION
Erica Brinkley §
V. § Case No_ lllS-CV-lool
§
Hays County, et al. §

 

APPLICA'I`ION TO PROCEED IN FORMA PAUPERIS
AND FINANCIAL AFFIDAVIT IN SUPPORT

I, Erica B'i"k|ey , declare that I am the Applicant
in the above-entitled proceeding. I am requesting permission to proceed without being required
to prepay fees, costs, or give security therefor. ln support of my application, I state that because
of my poverty, I am unable to pay the costs of said proceeding or give security therefor and l
believe l am entitled to relief. The nature of my action is briefly stated as follows:

Seeking injunctive relief against Defendants under Title II of the Americans with Disabilities
Act

In further support of this application, I answer the following questions:

Applicant’s Name: E"Ca Brlnk|ey

 

Questions Regarding Abilitv to Pav
Employment:

Are you now employed? Yes No Am Self Employed ll §

$0
If yes, how much do you earn per month? $

 

 

 

 

 

 

 

 

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If no, give month and year of last employment

 

How much did you earn per month? $

 

Name and Address of current or prior employer:

Carwin Pharmaceutical

If married, state Spouse's name:

 

 

 

Is your Spouse employed? Yes No

 

 

 

 

 

 

If working, how much does your spouse earn? $

 

Do you receive any funds from relatives or for child support? If so, how much per month do you

receive? $

 

Other Income:
Have you received within the past 12 months any income from a business, profession or other form
of self-employment, or in the form of rent payments, interest, dividends, retirement or annuity

payments (such as Social Security benefits), or other sources, including government benefits (such

 

 

 

as A.F.D.C. or Social Security disability benefits)? Yes o

 

If yes, give the amount and identify the sources:

 

 

 

Received Sources
$ 1410 Disability (doesn’t include deductions listed elsewhere in here)
$
$
$

 

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Cash:

 

 

 

Have you any cash on hand or money in savings or checking accounts? Yes No

If yes, state total amount: $

 

 

If neither you nor your spouse receive income of any kind, how are you able to pay for food and

shelter?

Property:

Do you own any real estate, stocks, bonds, notes, aut<(mob}'les,

ordinary household furnishings and clothing)? Yes

 

 

 

 

 

NO;<

or other valuable property (excluding

lf yes, give value and describe it and say in whose name the property is registered

 

 

 

Value Description
$ Unknown Jeep (l think l own it)
$
$
$

 

Familv Status and Dependents:

 

Marital Status: Single

Married

Total Number of Dependents:

 

 

 

 

Widowed

Are any of your dependents employed? If so, where:

How much do your dependent(s) earn monthly? $

 

 

 

 

Separated

 

 

 

 

 

 

 

or Divorced

 

 

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List persons you actually support, your relationship to them.

 

 

 

Do you pay alimony or child support or any other court-ordered payments? Yes No

If yes, list how much and describe:

Monthlv Debts of Applicant and/or Dependents

 

 

 

 

 

 

 

 

 

 

Type of Debt Name of Creditor Total Debt Payment
Student loan Nelnet $ 30,000 $ $300
lnsurance Medicare Aetna $ $ $140
|nSurance leel'ty MUtUal 125
$ $
Rent 600
Land|ord
$ $

 

Monthlv Expenses of Applicant and/or Dependents

 

Rent or House Payment: $ 600
Electric & Water Bills: $
Gas: $
Varies 0-$65
Phone: $
Insurance: $ 265
For what purpose:

 

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Prescriptions: $ Varies 30 -80
For what purpose:

Transportation/Car Payments: $ Vari€S 30-150
For what purpose:

Medical Bills: $ Vari€S 32-94
For what purpose:

Legal Bills: $ Varies 0-300

FOr What purpose: Malicious and retaliatory eviction prosecution (fair housing)

 

Loans: $

For what purpose:

 

Miscellaneous: $

For What purpose: Food (varies $200?), intemet (varies$60),in home assist(varies $lZOr

 

Is there any more information the Court should consider in making its determination?

I have not consistently been paying nelnet because I can’t afford it and penalties may bring total
owed higher.

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AFFIDAVIT OF APPLICANT
I declare under penalty of perjury the above answers and statements to be true and correct to
the best of my knowledge. Iunderstand that this affidavit will become an official part of the United
States District Court files and that any false or dishonest answer or statements knowingly made by
me in this Financial Affidavit are illegal and may subject me to criminal penalties, including any

applicable fines or imprisonment, or both.

Signature: …

_ Ebrink|ey
Printed Name:

 

Date: 11/20/2018

 

